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                                                                                                                           Loan History - General

Loanid                                            Borrower: PERINA                                Telephon
Effective Date    Transaction Date Due Date       Transaction        Batch Desc    Sub Batch Id      Trans. Amt     Principal      Principal        Arrearage /   Interest   Unapplied   Unapplied   Escrow      Escrow Late Charge   Late Charge   Assistance Amt
                                                  Description                     Code                               Amount         Balance    Forbearance Prin   Amount      Amount      Balance    Amount      Balance       Amt        Balance

       9/1/2020           9/4/2020      10/1/2019 Prepetition       3000 - BK        0   85589          $531.00         $.00    $122,767.63              $0.00       $.00        $.00     $903.96       $.00 ($4,875.50)       $.00      $220.16             $.00
                                                  Unapplied Payment Trustee Pmt

       9/9/2020           9/9/2020      10/1/2019 Prepetition       45-BC            0   85834         ($531.00)        $.00    $122,767.63              $0.00       $.00        $.00     $372.96       $.00 ($4,875.50)       $.00      $220.16             $.00
                                                  Unapplied Payment
                                                  Reversal

       9/9/2020           9/9/2020      10/1/2019 Prior Serv Corp    45-BC          96   85834          $531.00         $.00    $122,767.63              $0.00       $.00        $.00     $372.96       $.00 ($4,875.50)       $.00      $220.16             $.00
                                                  Adv Payment
      9/17/2020         9/17/2020        9/1/2020 Late Charge                        0       0          ($27.52)        $.00    $122,767.63              $0.00       $.00        $.00     $372.96       $.00 ($4,875.50)   ($27.52)      $247.68             $.00
                                                  Assessment
      9/18/2020         9/21/2020       10/1/2019 Regular Payment   ACH Pmt          0   87171          $942.89     $141.09     $122,626.54              $0.00    $409.23        $.00     $372.96    $392.57 ($4,482.93)       $.00      $247.68             $.00
                                                                    (3000-
                                                                    5555551)
      9/18/2020         9/21/2020       11/1/2019 Unapplied Payment ACH Pmt          0   87171            $7.11         $.00    $122,626.54              $0.00       $.00       $7.11     $380.07       $.00 ($4,482.93)       $.00      $247.68             $.00
                                                                    (3000-
                                                                    5555551)
      9/29/2020         10/2/2020       11/1/2019 Prepetition       3000 - BK        0   88897          $424.80         $.00    $122,626.54              $0.00       $.00        $.00     $804.87       $.00 ($4,482.93)       $.00      $247.68             $.00
                                                  Unapplied Payment Trustee Pmt

      10/2/2020         10/2/2020       11/1/2019 Prepetition       45-BC            0   88967         ($424.80)        $.00    $122,626.54              $0.00       $.00        $.00     $380.07       $.00 ($4,482.93)       $.00      $247.68             $.00
                                                  Unapplied Payment
                                                  Reversal

      10/2/2020         10/2/2020       11/1/2019 Prior Serv Corp    45-BC          96   88967          $424.80         $.00    $122,626.54              $0.00       $.00        $.00     $380.07       $.00 ($4,482.93)       $.00      $247.68             $.00
                                                  Adv Payment
     10/10/2020        10/12/2020       11/1/2019 Regular Payment   ACH Pmt          0   90023          $942.89     $141.56     $122,484.98              $0.00    $408.76        $.00     $380.07    $392.57 ($4,090.36)       $.00      $247.68             $.00
                                                                    (3000-
                                                                    5555551)
     10/10/2020        10/12/2020       12/1/2019 Unapplied Payment ACH Pmt          0   90023            $7.11         $.00    $122,484.98              $0.00       $.00       $7.11     $387.18       $.00 ($4,090.36)       $.00      $247.68             $.00
                                                                    (3000-
                                                                    5555551)
     10/17/2020        10/17/2020       10/1/2020 Late Charge                        0       0          ($27.52)        $.00    $122,484.98              $0.00       $.00        $.00     $387.18       $.00 ($4,090.36)   ($27.52)      $275.20             $.00
                                                  Assessment
     10/26/2020        10/31/2020       12/1/2019 Prepetition       3000 - BK        0   91668          $424.80         $.00    $122,484.98              $0.00       $.00        $.00     $811.98       $.00 ($4,090.36)       $.00      $275.20             $.00
                                                  Unapplied Payment Trustee Pmt

      11/2/2020         11/2/2020       12/1/2019 Prepetition       45-PA            0   91734         ($424.80)        $.00    $122,484.98              $0.00       $.00        $.00     $387.18       $.00 ($4,090.36)       $.00      $275.20             $.00
                                                  Unapplied Payment
                                                  Reversal

      11/2/2020         11/2/2020       12/1/2019 Prior Serv Corp    45-PA          96   91734          $424.80         $.00    $122,484.98              $0.00       $.00        $.00     $387.18       $.00 ($4,090.36)       $.00      $275.20             $.00
                                                  Adv Payment


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11/13/2020     11/16/2020       12/1/2019 Regular Payment      ACH Pmt       0    93385     $942.89     $142.04   $122,342.94         $0.00   $408.28    $.00   $387.18   $392.57 ($3,697.79)      $.00    $275.20   $.00
                                                               (3000-
                                                               5555551)
11/13/2020     11/16/2020         1/1/2020   Unapplied Payment ACH Pmt       0    93385       $7.11        $.00   $122,342.94         $0.00      $.00   $7.11   $394.29      $.00 ($3,697.79)      $.00    $275.20   $.00
                                                               (3000-
                                                               5555551)
11/16/2020     11/16/2020         1/1/2020   Legal Fee                       1        0    ($250.00)       $.00   $122,342.94         $0.00      $.00    $.00   $394.29      $.00 ($3,697.79)      $.00    $275.20   $.00
                                             Assessment
11/17/2020     11/17/2020       11/1/2020    Late Charge                     0        0     ($27.52)       $.00   $122,342.94         $0.00      $.00    $.00   $394.29      $.00 ($3,697.79)   ($27.52)   $302.72   $.00
                                             Assessment
 12/1/2020      12/7/2020         1/1/2020   Prepetition       3000 - BK     0    95923     $531.00        $.00   $122,342.94         $0.00      $.00    $.00   $925.29      $.00 ($3,697.79)      $.00    $302.72   $.00
                                             Unapplied Payment Trustee Pmt

 12/9/2020      12/9/2020         1/1/2020 Prepetition       45-PA           0    96208    ($296.31)       $.00   $122,342.94         $0.00      $.00    $.00   $628.98      $.00 ($3,697.79)      $.00    $302.72   $.00
                                           Unapplied Payment
                                           Reversal

 12/9/2020      12/9/2020         1/1/2020 Prior Serv Corp     45-PA         96   96208     $167.58        $.00   $122,342.94         $0.00      $.00    $.00   $628.98      $.00 ($3,697.79)      $.00    $302.72   $.00
                                           Adv Payment
 12/9/2020      12/9/2020         1/1/2020 Escrow Only         45-PA         0    96208     $128.73        $.00   $122,342.94         $0.00      $.00    $.00   $628.98   $128.73 ($3,569.06)      $.00    $302.72   $.00
                                           Payment
 12/9/2020     12/10/2020         1/1/2020 Regular Payment   ACH Pmt         0    96417     $942.89     $142.51   $122,200.43         $0.00   $407.81    $.00   $628.98   $392.57 ($3,176.49)      $.00    $302.72   $.00
                                                             (3000-
                                                             5555551)
 12/9/2020     12/10/2020         2/1/2020 Unapplied Payment ACH Pmt         0    96417       $7.11        $.00   $122,200.43         $0.00      $.00   $7.11   $636.09      $.00 ($3,176.49)      $.00    $302.72   $.00
                                                             (3000-
                                                             5555551)
12/11/2020     12/11/2020         2/1/2020 Prepetition       45-PA           0    96531    ($234.69)       $.00   $122,200.43         $0.00      $.00    $.00   $401.40      $.00 ($3,176.49)      $.00    $302.72   $.00
                                           Unapplied Payment
                                           Reversal

12/11/2020     12/11/2020        2/1/2020 Escrow Only          45-PA         0    96531     $234.69        $.00   $122,200.43         $0.00      $.00    $.00   $401.40   $234.69 ($2,941.80)      $.00    $302.72   $.00
                                          Payment
12/17/2020     12/17/2020       12/1/2020 Late Charge                         0       0     ($27.52)       $.00   $122,200.43         $0.00      $.00    $.00   $401.40      $.00 ($2,941.80)   ($27.52)   $330.24   $.00
                                          Assessment
  1/8/2021       1/8/2021        2/1/2020 Regular Payment    ACH Pmt          0   99600     $942.89     $142.99   $122,057.44         $0.00   $407.33    $.00   $401.40   $392.57 ($2,549.23)      $.00    $330.24   $.00
                                                             (3000-
                                                             5555551)
  1/8/2021       1/8/2021         3/1/2020 Unapplied Payment ACH Pmt          0   99600       $7.11        $.00   $122,057.44         $0.00      $.00   $7.11   $408.51      $.00 ($2,549.23)      $.00    $330.24   $.00
                                                             (3000-
                                                             5555551)
 1/17/2021      1/19/2021         1/1/2021 Late Charge                        0       0     ($27.52)       $.00   $122,057.44         $0.00      $.00    $.00   $408.51      $.00 ($2,549.23)   ($27.52)   $357.76   $.00
                                           Assessment
  1/1/2021      1/19/2021         3/1/2020 Prepetition       3000 - BK        0   100877    $424.80        $.00   $122,057.44         $0.00      $.00    $.00   $833.31      $.00 ($2,549.23)      $.00    $357.76   $.00
                                           Unapplied Payment Trustee Pmt




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1/20/2021      1/20/2021         3/1/2020 Prepetition       45-vs            0   101001     ($424.80)           $.00   $122,057.44         $0.00        $.00      $.00   $408.51         $.00 ($2,549.23)        $.00   $357.76   $.00
                                          Unapplied Payment
                                          Reversal

1/20/2021      1/20/2021         3/1/2020 Escrow Only       45-vs            0   101001       $424.80           $.00   $122,057.44         $0.00        $.00      $.00   $408.51      $424.80 ($2,124.43)        $.00   $357.76   $.00
                                          Payment
1/27/2021      1/28/2021         3/1/2020 Prepetition       3000 - BK        0   102191       $424.80           $.00   $122,057.44         $0.00        $.00      $.00   $833.31         $.00 ($2,124.43)        $.00   $357.76   $.00
                                          Unapplied Payment Trustee Pmt

1/28/2021      1/28/2021         3/1/2020 Prepetition       45-BC            0   102076     ($424.80)           $.00   $122,057.44         $0.00        $.00      $.00   $408.51         $.00 ($2,124.43)        $.00   $357.76   $.00
                                          Unapplied Payment
                                          Reversal

1/28/2021      1/28/2021         3/1/2020 Escrow Only         45-BC          0   102076       $424.80           $.00   $122,057.44         $0.00        $.00      $.00   $408.51      $424.80 ($1,699.63)        $.00   $357.76   $.00
                                          Payment
2/10/2021      2/10/2021         3/1/2020 Legal Fee                          1       0      ($250.00)           $.00   $122,057.44         $0.00        $.00      $.00   $408.51         $.00 ($1,699.63)        $.00   $357.76   $.00
                                          Assessment
2/17/2021      2/17/2021         2/1/2021 Late Charge                        0       0        ($27.52)          $.00   $122,057.44         $0.00        $.00      $.00   $408.51         $.00 ($1,699.63)    ($27.52)   $385.28   $.00
                                          Assessment
2/18/2021      2/19/2021         3/1/2020 Regular Payment     ACH Pmt        0   104896       $942.89       $143.46    $121,913.98         $0.00    $406.86       $.00   $408.51      $392.57 ($1,307.06)        $.00   $385.28   $.00
                                                              (3000-
                                                              5555551)
2/18/2021      2/19/2021         4/1/2020 Unapplied Payment ACH Pmt          0   104896         $7.11           $.00   $121,913.98         $0.00        $.00     $7.11   $415.62         $.00 ($1,307.06)        $.00   $385.28   $.00
                                                            (3000-
                                                            5555551)
                                                            Totals:                       ($18,615.27)   $127,205.58                               $7,810.28   $415.62             ($1,307.06)              ($385.28)             $.00




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

 In Re:                                             Case No. 17-82896

 Brian K Perina
                                                    Chapter 13
 Suzanne Marie Perina

 Debtors                                            Hon. Judge Thomas M. Lynch

                                   CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of
Postpetition Mortgage Fees, Expenses, and Charges upon the above-named parties by electronic
filing or, as noted below, by placing same in a properly addressed and sealed envelope, postage
prepaid, and depositing it in the United States Mail at 394 Wards Corner Rd., Suite 180,
Loveland, OH 45140 on March 5, 2021, before the hour of 5:00 p.m.

          Nathan E Curtis, Debtors’ Counsel
          ndil@geracilaw.com

          Jason K Nielson, Debtors’ Counsel
          ndil@geracilaw.com

          Lydia Meyer, Trustee
          ecf@lsm13trustee.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.md.ecf@usdoj.gov

          Brian K Perina, Debtor
          1811 River Terrace Dr
          Unit
          Johnsburg, IL 60051
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     Suzanne Marie Perina, Debtor
     1811 River Terrace Dr
     Unit
     Johnsburg, IL 60051


Dated: March 5, 2021                          Respectfully Submitted,

                                              /s/ Molly Slutsky Simons
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                                              Attorney for Creditor
